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NORHURND TCOURT

IN THE UNITED STATES DISTRICT COURT §
NORTHERN DISTRICT OF TEXAS `

DALLAS DIVIsIoN 3 M
HsM PoRTFoLIo LLC AND § ` `
TECHNOLOGY PROPERTIES §
LIMITED, LLC, §
§
Plaintiffs, §
§
v. § No. 3:14-mc-80-N
§
FUJITSU LIMITED, ET AL., §
§
Defendants. §

ORDER

Plaintiffs HSM Portfolio LLC and Technology Properties Limited, LLC have filed a motion

for reconsideration of the Court’s July 14, 2014 Order granting non-party Dr. Ping Gui’s motion to
quash and for protective order (the “Order”). More specifically, the Court’s Order quashed
Plaintiffs’ subpoena seeking deposition testimony from Dr. Gui about an expert declaration that she
submitted two years ago in an unrelated patent infringement action, Calz`fornia Inst. of Tech. v.
STMicroelectronics, Inc., et al., No. lO-cv-O9099-MRP-VBK (C.D. Cal.) (the “Caltech matter”).
The Order also “barred [Plaintiffs] from making any further attempts to depose [Dr. Gui] about her
expert declaration in the Caltech matter.” Order, 7/14/14 (Doc. 12) at 4-5. By their motion,
Plaintiffs ask the Court to modify the Order to allow Plaintiffs to seek Dr. Gui’s testimony should
new facts and circumstances arise in connection With patent litigation pending in the District of
DelaWare, HSMPortfolz`o LLC et al. v. Fujitsu Limz`ted, et al. , No. l l-cv-00770-RGA (D. Del.) (the

“HSM matter”) that Warrant a need for her testimony. Altematively, Plaintiffs request that the Court

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modify the Order to include a clear statement that Plaintiffs have all the rights and remedies that a
party Would have under a “traditional protective order,” including the right to seek a modification
while the order is in effect Pl. Reply at 2-3, 4. Dr. Gui opposes Plaintiffs’ motion on grounds that
Plaintiffs have not shown good cause for modifying the Order. The issues have been fully briefed,
and the motion is ripe for determination

The Court’ s July 14, 2014 Order granting Dr. Gui’ s motion to quash and for protective order
is a “protective order.” A court has broad discretion to modify a protective order as long as the order
remains in effect. Oldendorjijarriers GmbH & Co., KG v. Grand China Shippz`ng (Hong Kong)
Co., Ltd. , No. CA C-12-074, 2013 WL 1867604, at *2 (S.D. Tex. Apr. 22, 2013); Peoples v. Aldine
Indep. Sch. Dz'st., No. Civ. A. 06-2818, 2008 WL 2571900, at *2 (S.D. Tex. June 19,~2008). The
following factors inform the court’ s consideration of whether a modification is appropriate: “(1) the
nature of the protective order, (2) the foreseeability, at the time of the issuance of the order, of the
modification requested, (3) the parties’ reliance on the order, and most significantly (4) whether good
cause exists for the modification.” Oldendor]jFCarriers, 2013 WL 1867604, at *2. Only the first
and fourth factors are relevant in this case.1

With regard to the first factor, the court considers the scope of the protective order and

whether it was court-imposed or stipulated to by the parties. Id. “A party’s prior consent to the

 

1 “Foreseeablity” is a question of “whether the need for modification of the order was foreseeable at the time
the parties negotiated the original stipulated protective order.” Peoples, 2008 WL 2571900, at *2 (quoting Murata Mfg.
Co., Ltd. v. Bel Fuse, Inc., 234 F.R.D. 17 5, 180 (N.D. Ill. 2006)). “[A] party’s oversight in not negotiating a provision
in a protective order considering a matter which should have been reasonably foreseeable at the time of the agreement
has been held not to constitute good cause for relief from the protective order.” Id. The reliance factor examines “the
extent to which a party resisting modification relied on the protective order in affording access to discovered materials.”
Id. (quoting Murata Mfg. Co. , 234 F.R.D. at 180). Neither the foreseeability nor the reliance factors are applicable here
because the Order is a court-imposed order rather than an order stipulated to by the parties and Dr. Gui has not given
any deposition testimony in reliance on the Order.

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protective order Will weigh against its motion for modification.” Ia’. (quoting Bayer AG and Miles,
]nc. v. Barr Labs., Inc., 162 F.R.D. 456, 466 (S.D.N.Y. 1995)). Further, orders covering a specific
type of identified information are narrowly defined and are thus more difficult to modify. Ia’. With
regard to the fourth factor, “good cause” requires “changed circumstances or new situations”
warranting modification of a protective order. Id. (quoting Mural‘a Mfg. Co., Ltd. v. Bel Fuse, Inc.,
234 F.R.D. 175, 180 (N.D. lll. 2006)). In determining whether the moving party has established
good cause, “the court must weigh that party’s need for modification against the other party’s need
for protection, and ought to factor in the availability of alternatives to better achieve both sides’
goals.” Id. (quoting Murata Mfg. Co., 234 F.R.D. at 180).

Here, the July 14, 2014 Order is a narrowly-tailored, court-imposed protective order entered
upon the finding that Plaintiffs’ deposition subpoena for Dr. Gui’s testimony was unreasonable
because the minimal relevance of the information requested did not outweigh the inconvenience and
burden imposed on Dr. Gui. Plaintiffs have not demonstrated that any changed circumstances or
new situations establish good cause for modifying the Order. The mere suggestion that unnamed,
hypothetical, “new circumstances that have not yet developed” may possibly warrant modification
of the Order falls woefully short of establishing good cause. Plaintiffs also have failed to
demonstrate that their need for modification outweighs Dr. Gui’s need for protection. The Court
declines to offer any advisory opinion as to what sort of “new circumstances” may demonstrate good
cause to modify the Order. If changed circumstances sufficient to demonstrate good cause actually

develop in the future, Plaintiffs may file an appropriate motion.

 

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Because the relevant factors weigh against modifying the Order, Plaintiffs’ Motion for
Reconsideration (Doc. 13) is DENIED.

SO ORDERED, October 23, 2014.

 

 

UNITED. STATES MAGISTRATE IUDGE

